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                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION

         UNITED STATES SECURITIES AND
         EXCHANGE COMMISSION,

                         Plaintiff,                       Case No. 1:18-cv-5587

                   v.

         EQUITYBUILD, INC., EQUITYBUILD                   Hon. John Z. Lee
         FINANCE, LLC, JEROME H. COHEN, and
         SHAUN D. COHEN                                   Magistrate Judge Young B. Kim

                         Defendants.

           OBJECTIONS OF CERTAIN MORTGAGEES TO RECEIVER’S FIRST INTERIM
          APPLICATION AND MOTION FOR COURT APPROVAL OF PAYMENT OF FEES
          AND EXPENSES OF RECEIVER AND RECEIVER’S RETAINED PROFESSIONALS

                   The following mortgagees (collectively, “Mortgagees”, and each individually a

        “Mortgagee”) respectfully submit this Objection (“Objection”) to the Receiver’s First Interim

        Application and Motion for Court Approval of Payment of Fees and Expenses of Receiver and

        Receiver’s Retained Professionals (“Fee Application”) [Dkt. 411]: (1) Citibank N.A., as Trustee

        for the Registered Holders of Wells Fargo Commercial Mortgage Securities, Inc., Multifamily

        Mortgage Pass-Through Certificates, Series 2018-SB48; (2) U.S. Bank National Association, as

        Trustee for the Registered Holders of J.P. Morgan Chase Commercial Mortgage Securities Corp.,

        Multifamily Mortgage Pass-Through Certificates, Series 2017-SB30; (3) U.S. Bank National

        Association, as Trustee for the Registered Holders of J.P. Morgan Chase Commercial Mortgage

        Securities Corp., Multifamily Mortgage Pass-Through Certificates, Series 2017-SB41; (4) U.S.

        Bank National Association, as Trustee for the Registered Holders of J.P. Morgan Chase

        Commercial Mortgage Securities Corp., Multifamily Mortgage Pass-Through Certificates, Series

        2018-SB50; (5) Wilmington Trust, National Association, as Trustee for the Registered Holders of



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        Wells Fargo Commercial Mortgage Trust 2014-LC16, Commercial Mortgage Pass-Through

        Certificates, Series 2014-LC16; (6) Federal National Mortgage Association (“Fannie Mae”); (7)

        Federal Home Loan Mortgage Corporation (“Freddie Mac”); (8) UBS AG; (9) BMO Harris Bank

        N.A.; and (10) BC57, LLC. In support of the Objections, the Mortgagees state as follows:

                                                 INTRODUCTION

                   On August 15, 2018, the U.S. Securities and Exchange Commission filed a securities fraud

        complaint against EquityBuild, Inc., Equitybuild Finance, LLC, Jerome Cohen, and Shaun Cohen

        (collectively, “Receivership Defendants”). On August 17, 2018, the Court appointed Kevin B.

        Duff as the equity receiver (“Receiver”) over the estates of the Receivership Defendants

        (“Receivership Estate”).

                   Despite this Court’s order appointing the Receiver [Dkt. 16] (“Receiver Order”) and

        directing the Receiver to file quarterly fee applications (see Receiver Order at ¶70), the Receiver

        elected to wait nearly nine months after his appointment to file his first Fee Application – in clear

        derogation and violation of the Receiver Order. Indeed, the Receiver never sought leave from this

        Court to excuse a tardy filing. To make matters worse, the first Fee Application only covers the

        first forty-five (45) days (August 17, 2018 through September 30, 2018) of the Receiver’s over

        ten-month tenure. This means that there are still several quarterly fee applications that are grossly

        overdue and have yet to be filed, leaving both the Court and the parties in the dark about what

        legal fees have accrued – and continue to accrue – during the pendency of this matter. Such

        dereliction of duties is inexcusable, particularly given the express provisions of this Court’s order.

                   At the outset and as an overarching matter, the Fee Application highlights the clear and

        undeniable fact that this receivership is insolvent and should not be continued. Moreover, the Fee

        Application flies in the face of established law and prior Court orders requiring the Receiver to



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           restore rents to the Mortgagees and other creditors. At a minimum, the Court should not approve

           the Fee Application, which is over 192 pages in length and contains approximately 1,000

           professional fee time descriptions, until all interested parties have had a chance to receive notice

           and to thoroughly review the Fee Application.

                                                              ARGUMENT

      I.              THE RECEIVERSHIP ESTATE IS INSOLVENT.

                      The Fee Application requests approval of a total of $413,298.44 in fees for a 45-day period,

           $96,681.00 of which goes to the Receiver personally and $273,678.94 of which goes to the

           Receiver’s law firm. The Receiver admits the Receivership Estate had only $210,134.04 cash on

           hand at the end of this 45-day time period. See Fee Application, p. 5. The costs to operate this

           receivership grossly outweigh the receivership’s capital and the possibility of any benefit to the

           interested parties. This point was also illustrated in the Receiver’s Second Status Report (“Second

           Status Report”) [Dkt. 258] filed February 28, 2019 in which the Receiver estimated the

           Receivership Estate incurred approximately $994,132.62 in fees and expenses through December

           31, 2018, but yet only had $307,345.37 cash on hand as of December 31, 2018. If the Receiver

           included all fees and expenses through December 31, 2018 in his Fee Application (as required by

           the Order Appointing Receiver [Dkt. 16]), then the Receiver and his professional’s fees would

           have accounted for over two-thirds of the entire cash on hand as of May 24, 20191. This does

           not even account for the additional fees and costs the Receivership Estate has incurred from

           January 1, 2019 to present. Basic arithmetic illustrates the gross insolvency of this receivership.

           This begs the questions why such a grossly insolvent receivership was commenced in the first

           instance and why it has been allowed to continue, as it is not in the best interests of all parties in



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               The cash on hand as of May 24, 2019 was $1,471,491.86. See Fee Application, p. 5, n. 1.

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        interest. Rather than allowing the parties to exercise their rights in state court proceedings and to

        litigate as appropriate, the Receiver has materially reduced estate assets with no appreciable benefit

        to the Receivership Estate. This point has been made throughout the receivership. To the extent

        a property lacks equity and merely serves as a financial drain on the estate (rather than providing

        recoverable assets), such property should not be administered by the Receiver. It only forces viable

        properties with equity to prop up woefully deficient and financial burdensome properties that could

        have easily been litigated in foreclosure court on a property by property basis by the relative

        stakeholders without the need for the current crushing administrative overlay and expense. Indeed,

        this is axiomatic in a chapter 7 bankruptcy case. A chapter 7 trustee files a “no asset” report when

        there are no assets to be provided to unsecured creditors. Moreover, a chapter 7 trustee does not

        administer estate assets for the benefit of secured creditors or simply for the sake of administering

        assets even though there will never be any recovery from those assets.

                   This Court should consider if the purposes for which this receivership has been filed can

        still be achieved. S.E.C. v. Madison Real Estate Grp., LLC, 647 F. Supp. 2d 1271, 1275 (D. Utah

        2009) (“[A] receivership must be monitored to ensure it is still serving the function for which it

        was created.”).      The Fee Application illustrates that the majority of any “equity” in the

        Receivership Estate will be depleted by the Receiver and his professionals’ fees, leaving little

        remaining equity to compensate the parties for whom the receivership was commenced. Moreover,

        the sale of real property, the predominate asset of the Receivership Estate, will generate little to no

        equity for the Receivership Estate because the majority of these assets are encumbered by

        mortgages that must be satisfied.

                   The Fee Application further highlights the issue raised by the Mortgagees and other

        creditors since inception—the Receiver must abandon non-performing properties in the



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           Receivership Estate. Keeping non-performing properties in the estate does nothing but run up fees

           and costs. Abandoning non-performing properties will free up significant funds previously used

           to maintain these properties with no return. Further, abandoning non-performing properties would

           allow a Mortgagee to pursue its own remedies against the property, and address any priority issues

           that may arise in a separate proceeding, thus eliminating the need to expend Receiver resources or

           the already limited funds in the Receivership Estate.

                   Recently, the Court issued a Memorandum Report and Recommendation [Dkt. 311] on the

           Receiver’s motion to approve the sale of certain real estate, in which the Court urged the Receiver

           to “explore ways to stop the accrual of fees, costs, and interest.” (Memo. Report and Rec. at 7

           n.2.) The Fee Application highlights more now than ever the need to abandon non-performing

           properties and to rein in the Receiver and his actions. See In re Cult Awareness Network, Inc., 205

           B.R. 575, 580 (Bankr. N. D. Ill. 1997) (“Courts do not want to encourage a Trustee to keep

           burdensome or valueless property in an estate to increase the amount of fees paid to the Trustee

           and to the various administrative representatives of the Trustee.”).

     II.           THE RECEIVER MUST RESTORE RENTS TO THE CREDITORS PRIOR TO
                   RECEIVING COMPENSATION AND SHOULD BE REQUIRED TO MAKE
                   PRINCIPAL AND INTEREST PAYMENTS BEFORE BEING COMPENSATED.

                   The Fee Application - and the related payment of the Receiver and his professionals’ fees

           – seeks to prime the Mortgagees’ security interests – without pointing out to this Court this priming

           lien request or even providing a detailed analysis how such payment is authorized under the

           circumstances. As this Court has properly held, the Receiver takes property subject to all liens,

           and neither the Receiver nor the Court has the authority to extinguish a creditor’s pre-existing state

           law security interest. See Memorandum Report and Recommendation [Dkt. 311] (stating “a court

           does not have the authority to extinguish a creditor’s pre-existing state law security interest” and



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        clarifying the issue by stating “[t]o be sure, a receiver appointed by the federal court takes property

        subject to all liens, properties, or privileges existing or accruing under the laws of the state.”)

        (internal citation omitted); See also Magistrate Kim’s Memorandum Opinion and Order, pp. 9-10

        [Dkt. 352] (reaffirming the foregoing rulings). Payment of the $413,298.44 in fees allows the

        Receiver to effectively trump the Mortgagees’ security interests by putting the Receiver and his

        professionals in a preferred lien position.

                   On February 13, 2019, the Court ordered the Receiver to restore to the Mortgagees monies

        diverted from the Mortgagees’ properties to the Receiver’s general operating account. See

        Memorandum Opinion and Order, p. 9 [Dkt. 223]. To date, the Receiver has not restored any

        monies as required by the Court’s order. Allowing payment of the Receiver’s fees now, without

        restoration of the rents or even the payment of principal and interest payments where sufficient

        rents are available, would allow the Receiver to effectively take a preferred and senior position to

        the Mortgagees’ securities interests. Such an outcome is contrary to both this Court’s prior rulings

        and law. See Javitch v. First Union Sec., Inc., 315 F.3d 619, 625 (6th Cir. 2003) (a receiver “stands

        in the shoes” of the receivership defendants and “acquires no greater rights in the property” than

        the receivership defendants.); S.E.C. v. Credit Bankcorp, Ltd., 386 F.3d 438 (2d Cir. 2004) (stating

        a receiver “takes the property subject to all liens, priorities, or privileges existing or accruing under

        the laws of the state.”); see also Marshall v. People of New York, 254 U.S. 380, 385 (1920). Put

        simply, the rents must be restored before payment is made to the Receiver and his professionals

        because the Receiver is subject to the Mortgagees’ security interest and this Court has previously

        ordered the Receiver to restore these rents.




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    III.           THE FEE APPLICATION FAILS TO COMPLY WITH THE RECEIVER ORDER
                   AND THE BILLING INSTRUCTIONS.

                   The Receiver Order states the Fee Application may be subject to a 20% holdback. The

        fees requested in the Fee Application should be subject to the 20% holdback given the insolvency

        of the Receivership Estate and lack of liquidity. The Fee Application is only for a 45-day period

        (August 17, 2018 through September 30, 2018) and does not account for the requisite time period.

        The Receiver Order mandates that the Receiver file quarterly fee applications. Two full calendar

        quarters have lapsed since the Receiver’s appointment and the Receiver has only just filed his first

        Fee Application and it only accounts for a 45-day period. The Receiver’s total disregard for court

        orders and statutorily requirements cannot be countenanced. Finally, the Fee Application fails to

        contain a separate narrative for each project category as required by the Billing Instructions for

        Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission.

                   The parties further object to the extent efforts by professionals are unreasonable,

        duplicative, or provide no appreciable value to the Receivership Estate. Under Local Rule 66.1,

        receivership estates are to be administered similarly to bankruptcy cases. In bankruptcy cases,

        courts evaluate whether the services provided were “actual and necessary.” See, In re Wildman,

        72 B.R. 700, 707 (Bankr. N.D. Ill. 1987). Professionals retained by a bankruptcy estate (and, by

        extrapolation, a receivership estate) should avoid routinely recording time under 0.2 hours for

        things like phone calls and reviewing emails. Id. at 708-9. “Attorneys should work independently,

        without the incessant ‘conferring’ that so often forms a major part of many fee petitions.” Id. at

        709. Similarly, “[s]enior partner rates will be paid only for work that warrants the attention of a

        senior partner,” and “non-legal work performed by a lawyer which should have been performed

        by less costly non-legal employees should command a lesser rate.” Id.




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                   Here, the billing statements attached as exhibits to the Fee Application demonstrate

        numerous instances in which the Receivership Estate was charged for 0.1 hours of telephone calls

        and email correspondence, duplicative efforts, work that could and should have been performed

        by staff (i.e., overhead), or substantial time in “office conferences” with inadequate detail

        regarding their contents:

                  Numerous RDAPK professionals routinely charged the Receivership Estate for 0.1-0.2
                   hours for correspondence, emails, and phone calls. For example, on August 20, 2018, Ania
                   Watychowicz charged the Receivership Estate up to 1.3 hours to review and send emails,
                   faxes, and make copies. Similarly, on August 24, Marion Adler charge the Receivership
                   Estate for a series of phone calls and emails (billed between .1-.2 hours each), adding up
                   to .5 hours.

                  The Receiver appeared to make a habit of having multiple “office conferences” throughout
                   the day on a daily basis. For example, from August 20-27, the Receiver’s time entries
                   evidence that multiple “office conferences” with various professionals from RDAPK were
                   a daily occurrence. The Fee Application fails to explain why so many “office conferences”
                   with numerous RDAPK professionals were necessary on a daily basis over the course of
                   several months. (See, generally, Rec’s Aug. 2018 Billing Stmt.)

                  Not only do the time entries themselves fail to demonstrate what value is being provided
                   by so many “conferences,” the discrepancies in the time entries of those purportedly
                   involved in them directly undermine their materiality. For instance, on August 27, 2018,
                   the Receiver recorded no less than 2.4 hours of conferences with Andrew Porter and Nicole
                   Mirjanich. (See Rec’s Aug. 2018 Billing Stmt. at 7.) Meanwhile, Mr. Porter inconsistently
                   recorded, for the same day, only 1.8 hours of conferences with the Receiver and Ms.
                   Mirjanich. (See RDAPK’s Aug. 2018 Billing Stmt. at 8.) Meanwhile Ms. Mirjanich’s time
                   entries show no evidence of any conference with either the Receiver or Mr. Porter for that
                   day.

                  RDAPK’s Billing Statements also evidence attorneys performing administrative tasks/non-
                   legal work, which could and should have been handled by assistants (i.e., overhead) or
                   paralegals. For example, on August 20, 2018, Ellen Duff, Of Counsel, billed the
                   Receivership Estate 1.2 hours to look up addresses for notice purposes. (See RDAPK’s
                   Aug. 2018 Billing Stmt. at 3.)

                  Similarly, it appears that paralegals have been charging the Receivership Estate for tasks
                   that an assistant should perform. On August 20, 2018, Ania Watychowicz charged the
                   Receivership Estate to send faxes and make copies of documents—tasks which should have
                   been handled by an assistant or office staff at no cost to the Receivership Estate. (See
                   RDAPK’s Aug. 2018 Billing Stmt. at 4.)



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                  RDAPK’s Billing Statements also evidence duplicative efforts by professionals across the
                   board. On August 23, 2018, a partner, of counsel, paralegal, and a legal assistant all worked
                   on the same task: contacting clerks to confirm local procedures for filing documents. (See
                   RDAPK’s Aug. 2018 Billing Stmt. at 6.) Not only are such duplicative efforts unwarranted,
                   the fact that a partner (at $390 per hour) charged the Receivership Estate for the same task
                   that was also being handled by a legal assistant (at $110 per hour) is clearly improper.

                   The Mortgagees did not expend resources conducting a comprehensive review of the

        Billing Statements. The deficiencies noted above were identified after a review of just a few weeks

        of time entries. These issues seriously draw into question whether all of the services described in

        the Fee Application were, in fact, “actual and necessary” for the Receivership Estate.

                                                    CONCLUSION

                   In sum, the Mortgagees object to the Fee Application for the reasons set forth herein and

        request that: (a) the receivership be dissolved because it is grossly insolvent as evidenced by the

        accrued fees; (b) the Receiver be directed to abandon non-performing properties; (c) the monies

        diverted from the Mortgagees’ properties be restored before payment of any of the fees in the Fee

        Application and that the mortgages receive principal and interest payments before any payment to

        professionals in the Fee Application, as the Receiver has made no legal showing for any kind of

        priming lien; (d) the hearing on the Fee Application is delayed until all interested parties have had

        an opportunity to review and respond; (e) the fees in the Fee Application be subject to a 20%

        holdback; (f) duplicative and unreasonable entries that provide no value to the estate are reduced;

        and (f) the Receiver be compelled to file all outstanding fee applications within the next 60 days.



        Dated: July 3, 2019                                     Respectfully submitted,

            /s/ Mark Landman                                 /s/ Jill L. Nicholson
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           /s/ Joseph R. Sgroi                       Trust, National Association, as Trustee for
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                                        CERTIFICATE OF SERVICE

               I hereby certify that on July 3, 2019, I provided service of the foregoing Objections of
        Certain Mortgagees to Receiver’s First Interim Application and Motion for Court
        Approval of Payment of Fees and Expenses of Receiver and Receiver’s Retained
        Professionals, via ECF filing to all counsel of record, and via U.S. mail to the following
        individuals and entities:


        Jerome and Patricia Cohen
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        Naples, FL 34102
        Defendant

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        Client Contact Center
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                                                            Commercial Mortgage Securities Corp.,
                                                            Multifamily Mortgage Pass-Through
                                                            Certificates, Series 2017-SB41; U.S. Bank
                                                            National Association, as Trustee for the
                                                            Registered Holders of J.P. Morgan Chase
                                                            Commercial Mortgage Securities Corp.,
                                                            Multifamily Mortgage Pass-Through
                                                            Certificates, Series 2018-SB50; Wilmington

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                                                      Trust, National Association, as Trustee for
                                                      the Registered Holders of Wells Fargo
                                                      Commercial Mortgage Trust 2014-LC16,
                                                      Commercial Mortgage Pass-Through
                                                      Certificates, Series 2014-LC16; and Fannie
                                                      Mae




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